        Case 4:12-cr-00143-KGB Document 197 Filed 02/06/14 Page 1 of 13




                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

UNITED STATES OF AMERICA                                                           PLAINTIFF

v.                     Case No. 4:12-cr-00143-Dft. No. 5-KGB


MILTON L. LAWS, JR.                                                            DEFENDANTS

                                            ORDER

       Before the Court is defendant Milton Laws, Jr.’s, motion to suppress his statements to

Internal Revenue Service (“IRS”) agents who executed a search warrant at the home of his

mother, Brenda Laws. The motion to suppress was made orally on January 30, 2014. The Court

determined the motion was untimely but that, in the interest of justice, the Court would hear the

motion. The Court began a hearing on the motion that afternoon (Dkt. No. 180). The Court

continued the hearing to the morning of January 31, 2014, to take additional testimony and to

hear additional argument (Dkt. No. 183). The Court then issued a written order granting the

motion to suppress (Dkt. No. 178). The government filed a motion for reconsideration of order

granting motion to suppress and to reopen hearing (Dkt. No. 184), to which Milton Laws, Jr.,

responded in opposition (Dkt. No. 185). The Court heard argument on the motion and granted

the government’s motion for reconsideration, reopening the hearing (Dkt. No. 186). The Court

heard additional testimony and argument on the motion to suppress the afternoon of February 5,

2014. For the reasons that follow, the Court denies Milton Laws, Jr.’s motion to suppress after

reopening the hearing on the motion.

       At the hearing conducted February 5, 2014, counsel for the government called Officer

Zuber, Officer Freeman, Officer Hughes, Officer Tucker, Internal Revenue Service (“IRS”)

Agent Johns Williams, IRS Agent Elliott, IRS investigative analyst Moore, IRS Agent Bailey,
         Case 4:12-cr-00143-KGB Document 197 Filed 02/06/14 Page 2 of 13




and IRS Agent Anderson to the stand. Prior to testifying, IRS Agent Elliott had spoken to IRS

Agent Coss, IRS Agent Spradlin, and IRS Agent Hogue, who is now retired. Counsel for Milton

Laws, Jr., called Felisha Walker to testify. At the initial hearing, the government called only IRS

Agent Bailey to the stand, and Milton Laws, Jr., called local police officer Williams and also

testified himself. The Court notes that IRS Agent Elliott has been present at counsel table

throughout the course of trial. IRS Agent Williams and IRS investigative analyst Moore have

been in and out of the courtroom attending portions of the trial and perhaps portions of the

suppression hearing. Counsel for Milton Laws, Jr., objected to the presentation of testimony

from these witnesses not otherwise subject to the rule. Given the relaxed evidentiary standards

that apply at suppression hearings, Fed. R. Evid. 104(a); United States v. Matlock, 415 U.S. 164,

173 (1974), the Court received such testimony.

        The Court summarizes the evidence as follows. Milton Laws, Jr., does not live at Brenda

Laws’s home. Brenda Laws is Milton Laws, Jr.’s mother. He was staying at her house because

his house had been burglarized. The record is unclear as to how long Milton Laws, Jr., had been

staying at his mother’s house.

        Local police participated in executing the search warrant at Brenda Laws’s home,

including local Pine Bluff, Arkansas, police officers Zuber, Freeman, Hughes, Tucker, Williams,

and very likely others. The Court reaches the conclusion that other local police officers likely

were involved for reasons explained in this Order. Many, if not all, of the local police officers

who assisted were narcotics officers. The government maintains this was because IRS Agent

Hogue worked on a particular type of drug task force with Officer Freeman. The IRS wanted a

local law enforcement presence when executing this warrant, and Officer Freeman volunteered

to assist.



                                                 2
        Case 4:12-cr-00143-KGB Document 197 Filed 02/06/14 Page 3 of 13




       IRS Agent Rosemary Anderson, who is now retired, and a uniformed officer went to the

door of the residence to serve the warrant. They were then followed by several local law

enforcement officers and IRS agents. The number of officers is in dispute, but a conservative

estimate is five or six local police officers along with nine IRS agents. All local police officers

were in uniform. All who entered the residence to execute the warrant, except IRS investigative

analyst Moore, were armed. Milton Laws, Jr., recalls ten officers and six or seven IRS agents

present in the house with additional officers outside.

       Officer Williams entered the residence when the search warrant was executed. He was

posted by the backdoor in the kitchen along another officer. He testified that he and another

police officer were stationed at the back door so that no one left. Throughout the execution of

the warrant and search, there were officers inside and outside the residence.

       Officer Hughes vaguely recalls the search. He does not recall the use of handcuffs or

anyone being in handcuffs. He was a narcotics agent at the time of the search. He was not told

why narcotics agents were asked to assist with executing this warrant, but he offered that they

might have been chosen because of their familiarity with searches. He testified that a narcotics

officer’s standard operating procedure for executing a narcotics warrant would be to handcuff

someone in the home at the outset for the duration of the search. When asked, he testified that

whether a narcotics officer would have followed this standard operating procedure would depend

on the briefing received prior to executing the warrant. Neither counsel for the government nor

counsel for Milton Laws, Jr., asked what was discussed at the briefing conducted prior to

executing the warrant to determine what standard operating procedure officers were directed to

follow for the execution of the warrant. Officer Hughes could not recognize Milton Laws, Jr., at

the hearing.



                                                 3
        Case 4:12-cr-00143-KGB Document 197 Filed 02/06/14 Page 4 of 13




       Officer Tucker recalls seeing no handcuffs and did not use handcuffs on anyone during

the execution of the warrant. He went into the home after at least five other armed officers had

conducted a safety sweep of the house. He did not recall having any contact with Milton Laws,

Jr., that day, although he recognized Milton Laws, Jr., from having worked as a police officer in

Pine Bluff.

       Officer Freeman was on the scene when the warrant was served and entered the house

after about five or six officers had entered and done the safety sweep of the house. He testified

that the IRS agents and uniformed officers entered the house at the same time to execute the

warrant. He viewed this as a document search. He did not remember any handcuffs being used.

He recalls money being found and laid out on the washing machine. He does not recall any

seizures or arrests at the scene. He does not remember having contact with Milton Laws, Jr., the

day the warrant was executed.

       Officer Zuber arrived at the scene the day this warrant was executed after initial entry

into the residence had been made. He searched a vehicle in the yard. Nothing was found in that

vehicle. He admits he did not enter the residence. He has no memory of anyone in handcuffs.

       On the second day the court received testimony regarding this matter before entering its

initial ruling, Milton Laws, Jr., testified that he was in a bedroom of the house with his girlfriend

Felisha Walker when he was grabbed by two officers, with another two officers in the hall.

Milton Laws, Jr., stated he was handcuffed at that point, taken into the kitchen, and told this was

a search for drugs and that, if drugs were found, he would be charged. Milton Laws, Jr., claims

that, while handcuffed, he was taken into the kitchen and that his pockets were emptied. The

contents of his pockets were put onto the washing machine. He had cash—possibly $1,000—in

his pockets. That money was put on the washing machine and ultimately returned to him and not



                                                 4
        Case 4:12-cr-00143-KGB Document 197 Filed 02/06/14 Page 5 of 13




seized at the end of his questioning. Milton Laws, Jr., estimates he was in handcuffs for a half

hour to an hour. Milton Laws, Jr., testified that the officers were armed, and carried walkie

talkies. The record is unclear as to when, and under what circumstances, the cash was returned

to Milton Laws, Jr.

       Milton Laws, Jr., admits that he was uncuffed and then escorted from the kitchen to the

IRS agents in the living room for the interview. He testified as to a recollection of being

uncuffed after the search was complete and taken into the living room where he was with his

mother and Felisha Walker. Milton Laws, Jr., maintains that he was not told he was free to leave

at any point during this encounter. Milton Laws, Jr., does not recall IRS Agent Anderson or

anyone else telling him he was free to leave. Milton Laws, Jr., claims he asked if he could leave

and either received no response or was told he could not leave.

       Several witnesses testified that, if Brenda Laws, Lareka Laws, Milton Laws, Jr., or

Felisha Walker asked to use the restroom, they would have been escorted to the restroom by a

law enforcement officer or IRS agent and that the restroom would have been searched before

permitting any individual to use it. Felisha Walker was escorted to the restroom during the

execution of this warrant.    Essentially, as the Court understands it, any individuals in the

residence would be escorted at all times as they moved about the residence.            IRS Agent

Anderson explained that, when executing a warrant, the IRS agents want to control the premises

and the individuals inside of it. When asked how, if that is the case, an individual is free to

leave, IRS Agent Anderson explained that either a law enforcement officer or an IRS agent

would walk the individual to the door, if the individual requested to leave.

       IRS Agent Ericka Johns Williams, who has attended and observed portions of the trial

and attended at least part of the earlier suppression hearing, testified. She has been an IRS agent



                                                 5
        Case 4:12-cr-00143-KGB Document 197 Filed 02/06/14 Page 6 of 13




for about nine years. She was on the scene when the warrant was executed at Brenda Laws’s

residence. She was armed that day. She entered the house approximately five or ten minutes

after the first IRS agents and law enforcement officers did. She has no recollection of seeing

Milton Laws, Jr., in handcuffs. She admits that she did not see him being taken out of the

bedroom or searched. She recalls IRS Agent Anderson speaking to Milton Laws, Jr., Lareka

Laws, Brenda Laws, and another woman all together, advising them that they were free to leave

the premises but that, if they left, they could not return that day. She testified that it was standard

operating procedure for the IRS to conduct such a meeting with occupants of the residence when

a warrant is executed. She was cross examined on why IRS Agent Anderson’s prosecution

memorandum does not reflect that custodial or non-custodial rights were given to Milton Laws,

Jr., and why Agent Anderson’s prosecution memorandum specifically states that Agent

Anderson had no contact with Milton Laws, Jr., on the day this search warrant was executed.

       IRS investigative analyst Johnna Moore corroborates Special Agent Williams’s

recollection of events. However, IRS Agent Moore also has attended and observed portions of

the trial and may have attended the earlier suppression hearings. She testified that her role is to

take inventory of items seized during the search. She does not carry a weapon. She entered the

residence approximately ten minutes after the entry team. She stated she would not have been

called to the residence had Milton Laws, Jr., or anyone else been in handcuffs. When she

arrived, she did not see Milton Laws, Jr., in handcuffs but did see a lot of money on the washing

machine. She recalls IRS Agent Anderson speaking to Brenda Laws and Milton Laws, Jr., along

with other individuals, to advise them they were free to leave but, if they left, they could not

return while the warrant was being executed. She identified Brenda Laws and Milton Laws, Jr.,




                                                  6
        Case 4:12-cr-00143-KGB Document 197 Filed 02/06/14 Page 7 of 13




by sight because she had been asked and had performed research on these two individuals prior

to the execution of the search warrant.

       IRS Agent Anderson testified. She was the first person into the house, along with a

uniformed officer. She was not the person who patted down Milton Laws, Jr., or stayed with

him in the kitchen. She did not remember who those individuals were. She did inform him,

along with all other occupants of the residence, that they were free to leave but that, if they left,

they could not come back while the warrant was being executed. She does not recall seeing

Milton Laws, Jr., in handcuffs. She testified that, if the IRS agents handcuffed anyone, she

would have to complete a use of force form. She was less clear on whether such a form, or any

form, would be required to be completed by her if a local law enforcement officer handcuffed

Milton L. Laws, Jr, during an IRS search. She testified that, if handcuffs had been used, she

would have included that in a memorandum. Agent Anderson did not consider advising an

occupant of the right to leave as advising of rights. She testified that the entire execution of the

warrant process took approximately two hours.

       Felisha Walker testified on behalf of Milton Laws, Jr. She testified that, when she was

called out of the bedroom after law enforcement and IRS agents had served the warrant and

begun to execute it, she was ordered into the kitchen. She testified that Milton Laws, Jr., was in

the kitchen against the wall and police were searching his pockets and his shoes. She testified he

was handcuffed. She does not recall the handcuffs being taken off him. She recalls going to the

living room and then to the den in the house. She recalls being separate from Milton Laws, Jr.,

and the others during this process. She does not recall anyone telling her that she could leave.

She also did not believe during this process that at any point she could walk out and not be

arrested.



                                                 7
        Case 4:12-cr-00143-KGB Document 197 Filed 02/06/14 Page 8 of 13




       Milton Laws, Jr., claims the entire encounter took an hour to an hour and a half. This is

not inconsistent with the IRS agents’ account of the day. IRS Agents Bailey and Hogue, who by

IRS Agent Bailey’s account was a supervisory agent with the IRS at the time, and Milton Laws,

Jr., were present in the room during the interview of Milton Laws, Jr.. Milton Laws, Jr., was not

handcuffed when the IRS agents conducted the interview. Milton Laws, Jr., was sitting on the

couch during the interview. Milton Laws, Jr., was not under arrest at the time of the interview.

       IRS Agent Demetria Bailey was the only witness the government called at the first

suppression hearing. The Court permitted the government’s counsel to recall her to the stand.

She testified at the second hearing that she was part of the entry team but was not the first person

in the house. She was armed during the execution of the warrant and during her interview with

Milton Laws, Jr. IRS Agent Bailey testified that she did not know Milton Laws, Jr., was going

to be at the house at the time the search warrant was executed and that Milton Laws, Jr., was not

a target of the investigation when IRS Agent Bailey came to the house to execute the search

warrant. IRS Agent Bailey estimates that she was at the house ten or 15 minutes before she had

physical contact with Milton Laws, Jr. At the most recent hearing, she said that she entered the

house at 9:20, made contact with Milton Laws, Jr., at 10:10 and conducted a ten minute

interview of Milton Laws, Jr. At the first hearing, IRS Agent Bailey testified that she did not

know how long she had been there before she started to speak to him. IRS Agent Bailey does

not know what was told to Milton Laws, Jr., prior to her contact with him in the living room; she

does not know whether he was handcuffed prior to his contact with her in the living room. IRS

Agent Bailey knows Milton Laws, Jr.’s pockets were emptied onto the washing machine near the

kitchen but claims she was not present for that.     IRS Agent Bailey testified that she had not

detained him and that she had not seen him in handcuffs that day.



                                                 8
           Case 4:12-cr-00143-KGB Document 197 Filed 02/06/14 Page 9 of 13




       IRS Agent Bailey claims Milton Laws, Jr., was free to get up and leave at any point

during the interview, although she does not recall that being said to him but claims that her

supervisor, Mr. Hogue, may have said that. IRS Agent Bailey did not Mirandize Milton Laws,

Jr.   She testified Mr. Milton Laws, Jr., was not read his Miranda rights prior to being

interviewed. During the interview, Mr. Milton Laws, Jr., did not answer every question; he did

not answer when asked where the money in his pockets came from. IRS Agent Bailey did not

arrest him at the end of the interview or at any point that day.

       IRS Agent Dan Elliott testified on behalf of the government. IRS Agent Elliott has been

at the government’s table throughout most, if not all, of the trial. IRS Agent Elliott testified that

he was the IRS team leader for this warrant, and yet he did not take the stand during the first

suppression hearing. He testified that handcuffing during an IRS search warrant is unusual and

that IRS standard operating procedure is to advise occupants that they are free to leave during

execution of the warrant but that, if they leave, they may not come back while the search is

ongoing. He explained that officers were posted at the doors of the residence to keep anyone

from entering the residence during the search, as opposed to preventing the occupants from

leaving as Officer Williams testified.

       He offered that Milton Laws, Jr., was arrested nine times before this warrant was

executed.1

       Agent Elliott spoke with IRS Agent Carey Coss who remembered a black male being

against a wall while others were seated but did not remember any handcuffs being used during

the execution of the warrant. He also recalled IRS Agent Anderson telling the occupants of the

       1
          Prior arrests have little, if any, probative value on this inquiry because whether an
individual is in custody is not dependent on the individual’s own subjective belief “but turns on
whether a reasonable person in his shoes would have felt free to end the interview.” United
States v. Ollie, 442 F.3d 1135, 1137 (8th Cir. 2006).
                                                  9
       Case 4:12-cr-00143-KGB Document 197 Filed 02/06/14 Page 10 of 13




house that they were free to leave but that, if they did leave, they could not come back. He spoke

to IRS Agent Bobbi Spradlin who recalls walking into the kitchen and observing a black male

with his hands behind his back but does not recall handcuffs on him. He also spoke to IRS

Agent Hogue who had no specific recollection of the execution of this warrant and did not

specifically recall anyone being in handcuffs that day.

       He did not believe Milton Laws, Jr., was escorted from the bedroom. He believes he was

kept in the kitchen to wait while a sweep of the residence was conducted and that two officers

waited with Milton Laws, Jr., in the kitchen during that time. He could not recall who searched

Milton Laws, Jr.’s pockets that day. He testified that, if Milton Laws, Jr., had that much cash in

his pocket, an officer patting him down might suspect a weapon and conduct a Terry frisk.

       Based on the evidence presented, the Court makes the following findings of fact and

reaches the following conclusions of law. The search was conducted at Brenda Laws’s house,

although her son Milton Laws, Jr., had been staying with her there for some time.

       Milton Laws, Jr., was handcuffed and his pockets were searched. Cash was removed

from his pockets and placed onto the washing machine. The Court bases this determination on

his testimony, the testimony of the local law enforcement officers who were narcotics officers,

the testimony regarding how narcotics officers typically conduct searches, the testimony that a

safety sweep was conducted, the fact that despite hearing from many local law enforcement

officers and IRS agents the Court did not hear from those who searched Milton Laws, Jr.’s,

pockets, and no one spoke with those officers who searched Milton Laws, Jr.’s, pockets and

reported such a conversation to the Court.

       Whether Milton Laws, Jr., was told he could leave the residence after being released from

handcuffs is a difficult question. IRS Agent Anderson took the stand to explain her prior



                                                10
       Case 4:12-cr-00143-KGB Document 197 Filed 02/06/14 Page 11 of 13




testimony that she had “no contact” with Milton Laws, Jr., and to put a fine point on what the

phrase “no contact” means to an IRS Agent. IRS Agent Anderson used the phrase “no contact”

to describe her contact with Milton Laws, Jr., during the execution of the search warrant in her

prior testimony in this proceeding and in her prosecution memorandum which describes the

events that occurred during the execution of the warrant. Her prosecution memorandum is less

than clear to the Court. At best, if the government account is to be believed, IRS Agent

Anderson’s written account of events may not be accurate, although various government

witnesses attempted to make that written account consistent with the view that Milton Laws, Jr.,

received notice from IRS Agent Anderson that he was free to leave before being interviewed by

IRS Agents Bailey and Hogue.

       The Court has concerns that the two IRS agents called to the stand to corroborate that IRS

Agent Anderson informed Milton Laws, Jr., and the other occupants of the house that they were

free to leave are individuals who have attended portions of the trial proceedings and at least one

of whom attended portions of the suppression hearing. This gives the Court some concern that

their memories may have been clouded by the courtroom discussions of these events. Even with

that, the Court determines it was standard operating procedure for the IRS to inform occupants of

the residence that they were free to leave the residence during the search. Milton Laws, Jr., and

Felisha Walker both testified to vague memories of a meeting in the living room of the residence.

As a result, this Court concludes it is more likely than not that IRS Agent Anderson did inform

the occupants of the home, including Milton Laws, Jr., that they were free to leave. The

government prevails on this finding.

       This Court has considered the Griffin factors. United States v. Griffin, 922 F.2d 1343,

1349 (8th Cir. 1990). As for the first factor, the Court determines that Milton Laws, Jr., was told



                                                11
       Case 4:12-cr-00143-KGB Document 197 Filed 02/06/14 Page 12 of 13




he was free to leave after he was uncuffed and was allowed to leave at the end of the interview.

As to the second factor, the inquiry requires the Court to determine whether the suspect

possessed unrestrained freedom of movement during questioning. Milton Laws, Jr., was not

handcuffed during questioning but instead was sitting on the couch, although the Court credits

IRS Agent Anderson’s testimony that individuals were not free to move about the house

unescorted and the testimony that there was an armed police presence at the residence with

officers inside, posted at the door, and outside. As to the third factor, the Court determines that

Milton Laws, Jr., answered questions asked, although not all of the questions asked, and did not

initiate the contact. The Court finds no evidence to support the fourth factor. As for the fifth

factor, the Court concludes there was a police presence at the residence, with armed officers

inside, posted at the door, and outside. As for the sixth factor, the Court determines that Milton

Laws, Jr., was not arrested at the conclusion of the interview. The Court also notes that the

interview itself was approximately ten minutes in length. See United States v. LeBrun, 363 F.3d

715, 723 (8th Cir. 2004) (taking note of the shortness of the interview in assessing whether the

defendant was in custody).

       With that, the Court determines that, based on controlling precedent, despite Milton

Laws, Jr., being handcuffed and uncuffed before his interview, despite the law enforcement and

IRS agent presence in the residence, despite that all law enforcement and IRS agents were

armed, despite that the occupants of the residence were not free to move about the interior of the

residence without a law enforcement or IRS agent escort as they moved about, and despite two

officers posted by the back door of the residence, because this Court finds that it is more likely

than not that IRS Agent Anderson informed the occupants of the house that they were free to

leave after Milton Laws, Jr., was uncuffed, the Eighth Circuit is likely to view this as a situation



                                                12
       Case 4:12-cr-00143-KGB Document 197 Filed 02/06/14 Page 13 of 13




in which a reasonable person would have understood he was free to leave. See, e.g., United

States v. Czichray, 378 F.3d 822, 831 (2004). This Court will follow precedent and will not

suppress Milton Laws, Jr.’s, statements made to IRS agents during his questioning at the home of

Brenda Laws while the search warrant was executed. The government’s motion for

reconsideration of Order granting motion to suppress is granted (Dkt. No. 184).

       SO ORDERED this 6th day of February, 2014.



                                                    ____________________________________
                                                    Kristine G. Baker
                                                    United States District Judge




                                               13
